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                             UNITED STATES DISTRICT COURT
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                            CENTRAL DISTRICT OF CALIFORNIA
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   10
        ANTONIO NAVARRETE, individually        Case No. 8:19-cv-00794-JLS-ADS
   11 and on behalf of all others similarly
        situated,
   12
                       Plaintiffs,             FINAL ORDER AND JUDGMENT
   13                                          GRANTING PLAINTIFF’S
              v.                               MOTION FOR FINAL APPROVAL
   14                                          OF CLASS ACTION
        SPRINT/UNITED MANAGEMENT               SETTLEMENT
   15 COMPANY, a Kansas Corporation;
        SPRINT CORPORATION, a Kansas
   16 Corporation; and DOES 1-50, inclusive,

   17                  Defendants.
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    1         The Parties reached a settlement subject to Court approval as represented in
    2 the Settlement that was filed previously with this Court. On November 12, 2021,

    3 this Court conducted a final approval hearing pursuant to this Court’s previous

    4 Order Granting Motion for Preliminary Approval of Class Action Settlement

    5 (“Preliminary Approval Order”) entered on March 2, 2021.             Due and adequate
    6 notice having been given to the Class as required in said Preliminary Approval

    7 Order, and the Court having considered all papers filed and proceedings had herein

    8 and otherwise being fully informed in the matter, and good cause appearing

    9 therefore:

   10        IT IS HEREBY ORDERED, ADJUDGED, AND DECREED:
   11        1.     For the reasons set forth in the Preliminary Approval Order, which are
   12 adopted and incorporated herein by reference, this Court finds that the applicable

   13 requirements of the Federal Rules of Civil Procedure, Rule 23 have been satisfied

   14 with respect to the Class and the proposed Settlement. The Court hereby makes

   15 final its earlier provisional certification of the Class, as set forth in the Preliminary

   16 Approval Order.

   17        2.     This Order and Judgment Granting Final Approval of Class Action
   18 Settlement hereby adopts and incorporates by reference the terms and conditions of

   19 the parties’ settlement agreement, together with the definitions of terms used and

   20 contained therein.

   21        3.     The Court finds that it has jurisdiction over the subject matter of the
   22 class action and Lawsuit and over all parties to the Lawsuit, including all

   23 Settlement Class Members.

   24        4.     The Notice Packet composed of the class notice and opt out form
   25 (“Class Notice”) given to the Class Members fully and accurately informed the

   26 Class Members of all material elements of the proposed Settlement and of their

   27 opportunity to object to or comment thereon or exclude themselves from the

   28 Settlement; was the best notice practicable under the circumstances; and was valid,
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    1 due, and sufficient notice to all Class Members.        The Class Notice fairly and
    2 adequately described the Settlement and provided Class Members adequate

    3 instructions and a variety of means to obtain additional information.           A full
    4 opportunity has been afforded to the Class Members to participate in the final

    5 approval hearing, and all Class Members and other persons wishing to be heard

    6 have been heard. Accordingly, the Court determines that all Class Members who

    7 did not timely and properly execute and timely mail a Request for Exclusion to

    8 make an Opt Out Request are bound by this Order and Judgment. The Court finds

    9 that five (5) members of the Class made an Opt Out Request and there were zero

   10 Objections received.

   11        5.      The Court has considered all relevant factors for determining the
   12 fairness of the Settlement and has concluded that all such factors weigh in favor of

   13 granting final approval.    In particular, the Court finds that the Settlement was
   14 reached following meaningful discovery and investigation conducted by Class

   15 Counsel; that the Settlement is the result of informed, adversarial, and arm’s-length

   16 negotiations between the Parties; and that the terms of the Settlement are in all

   17 respects fair, adequate, and reasonable. In so finding, the Court has considered all

   18 of the evidence presented, including evidence regarding the strength of the

   19 Plaintiff’s case; the risk, expense, and complexity of the claims presented; the likely

   20 duration of further litigation; the amount offered in Settlement; the extent of

   21 investigation and discovery completed; and the experience and views of Class

   22 Counsel. Accordingly, the Court hereby approves the Settlement as set forth in the

   23 Stipulation and expressly finds that said Settlement is, in all respects, fair,

   24 reasonable, adequate, and in the best interests of the Class and hereby directs

   25 implementation of all remaining terms, conditions, and provisions of the

   26 Stipulation.

   27        6.      The Court hereby approves the following to be deducted from the
   28 Gross Settlement Fund (or “GSF”) and paid. Attorney’s fees are to be deducted
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    1 from the GSF and paid to Class Counsel in the amount of $684,507 and costs in the

    2 amount of $11,664.20, as compensation for all attorney time spent on this matter

    3 from inception through and including the Final Approval Hearing and all other

    4 work related to this case and all costs, as these requests are fair and reasonable.

    5 Costs to the Settlement Administrator shall be paid from the GSF in the amount of

    6 $57,993.00 are hereby approved as fair and reasonable. No other costs or fees relief

    7 shall be awarded, either against Defendant or any other of the Released Parties, as

    8 defined in the Stipulation.

    9        7.     The Court hereby approves a service award to Plaintiff Navarette in
   10 the amount of $5,000, which shall be paid from the GSF. The award recognizes

   11 Plaintiff’s contributions and risk undertaken in initiating this action.

   12        8.     The Court hereby approves payment from the GSF of a PAGA Award
   13 of $100,000.00, with $75,000.00 payable to the Labor Workforce Development

   14 Agency (“LWDA”), as this request is fair and reasonable and the remainder of

   15 $25,000 deducted from the GSF to be paid to the Class Members as stated in the

   16 Settlement. The Court approves the Settlement pursuant to the PAGA, including

   17 Labor Code section 2699(l) (2).

   18        9.     Entry of this Final Judgment shall constitute a full and complete bar
   19 against Plaintiff and the Settlement Class (whether individuals, cumulatively or in

   20 any combination or in any manner) and in favor of the Released Parties (as defined

   21 in the Settlement) from bringing any Released Claims against Defendant and

   22 Released Parties (as defined in the Settlement) (whether individually, cumulatively

   23 or in any combination or in any manner), and shall constitute res judicata and

   24 collateral estoppel with respect to the Released Claims, except to those who timely

   25 and properly opted out of the Settlement pursuant to the terms of the Agreement.

   26        10.    By operation of the entry of this Final Order and Judgment, the Parties
   27 and Class Members, except those who excluded themselves from the Settlement,

   28 are ordered to perform their respective duties and obligations under the Settlement.
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    1        11.    If the Settlement is successfully challenged and, as a result, does not
    2 become final and effective in accord with the terms of the Settlement, then this

    3 Final Order and Judgment shall be rendered null and void and shall be vacated and,

    4 in such event, all orders entered, including but not limited to all releases delivered

    5 in connection herewith, shall be null and void.

    6                                     JUDGMENT
    7         In accordance with, and for the reasons stated in, the Final Approval
    8 Order”), Judgment shall be entered whereby Plaintiff and all Settlement Class

    9 Members, except those who excluded themselves from the Settlement, shall take

   10 nothing from Defendant, except as expressly set forth in the Settlement, which was

   11 previously filed, as part of Plaintiff’s Motion for Preliminary Approval of the Class

   12 Action Settlement.

   13         Pursuant to Federal Rules of Civil Procedure, Rule 23, this Court reserves
   14 exclusive and continuing jurisdiction over this action, Plaintiff, Class Members, and

   15 Defendant, for the purposes of:

   16        (a)    supervising the implementation, enforcement, construction, and
   17               interpretation of the Stipulation, the Preliminary Approval Order, the
   18               plan of allocation, the Final Approval Order, and the Judgment; and
   19        (b)    supervising distribution of amounts paid under this Settlement.
   20

   21        IT IS SO ORDERED.
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   23 DATED: November 24, 2021

   24                                   _________________________________________
                                        HON. JOSEPHINE L. STATON
   25
                                        UNITED STATES DISTRICT JUDGE
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